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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                             8:12-CR-358

vs.
                                                           ORDER
ULISES DE JESUS CAMPOS-
ALMAZAN,

                  Defendant.

      The defendant has filed a pro se motion (filing 116) seeking relief under
U.S.S.G. Amend. 782.

      IT IS ORDERED:

      1.    The defendant's pro se motion (filing 116) will be held in
            abeyance pursuant to General Order No. 2014-09.

      2.    The Clerk of the Court shall provide the defendant with a
            copy of this order.

      3.    The Clerk of the Court shall also give notice of the entry of
            this order to the United States Attorney, the Federal Public
            Defender, and to the Supervisory United States Probation
            Officer who handles presentence reports.

      Dated this 27th day of May, 2015.

                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge
